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                                           THE CITY OF NEW YORK
HON. SYLVIA O. HINDS-RADIX                                                                     NICOLETTE PELLEGRINO
Corporation Counsel                       LAW DEPARTMENT                                       Assistant Corporation Counsel
                                                                                                      Phone: (212) 356-2338
                                                 100 CHURCH STREET                                       Fax: (212) 356-3509
                                                 NEW YORK, NY 10007                             Email: npellegr@law.nyc.gov


                                     REQUEST TO FILE UNDER SEAL

                                                                              September 22, 2022

       VIA E.C.F.
       Honorable Lorna G. Schofield
       United States District Judge
       United States District Court
       Southern District of New York
       40 Foley Square
       New York, New York 10007

               Re:    Christopher Hiram Cano v. City of New York, et al.,
                      19 Civ. 1640 (LGS)

       Your Honor:

                      I am an Assistant Corporation Counsel in the Special Federal Litigation Division
       of the New York City Law Department and the attorney representing defendants City of New
       York, New York City Health and Hospitals, New York City Department of Correction (“DOC”)
       Captains Charles and Robinson, and DOC Officers Chisolm and Santiago (collectively,
       “Defendants”) in the above-referenced matter. 1 Defendants write to respectfully request that the
       Defendants be permitted to file their anticipated September 22, 2022 letter application under seal
       because it discusses matters and documents which have been explicitly protected from disclosure
       by the Court’s September 26, 2019 Stipulation of Confidentiality and Protective Order
       (hereinafter, “Protective Order”) and also concerns other private and/or confidential matters
       concerning Plaintiff. (See Dkt. No. 37 at ¶ 2(f).)

                      By way of background, Plaintiff was scheduled to be deposed by Defendants at
       the Manhattan Detention Complex on October 31, 2019. However, on October 29, 2019, the
       Defendants learned that Plaintiff was discharged from DOC custody into the custody of New
       York State. (See Dkt. Nos. 44, 45.)



       1
         Upon information and belief, DOC Officer Murray has not been served with process and, thus, is not yet
       a proper party to this action.
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                Upon information and belief, on November 8, 2019, former Assistant Corporation
Counsel Samantha J. Pallini provided the Court, under seal, with an update with respect to the
Plaintiff’s custody status and relevant criminal case, which are confidential pursuant to HIPAA
and the Protective Order. Pursuant to the Protective Order, “[a]ny records unsealed as a result of
Plaintiff’s properly executed authorization for the unsealing of records pursuant to New York
Criminal Procedure Law §§ 160.50 and 160.55, particularly pertaining to Bronx Supreme Court
Indictment No. 02396/2016[,]” are to be designated confidential materials and protected from
disclosure to third parties, except those persons listed in paragraph 5. (See Dkt. No. 37 a t ¶ 2(f).)

               Here, the contents of the Defendants’ anticipated September 22, 2022 letter
application concerns the Plaintiff’s custody status and certain disclosure on the public docket
may violate HIPAA.

               Accordingly, the Defendants’ anticipated filing contains confidential information,
and the Defendants respectfully request the Court’s permission to file the Defendants’
anticipated September 22, 2022 letter application under seal. 2

                   The Defendants thank the Court for its consideration.

                                                             Respectfully submitted,

CC:       VIA FIRST CLASS MAIL 3                             ___/s/_ Nicolette Pellegrino_____
          Christopher Hiram Cano                             Nicolette Pellegrino
          P.O. Box 158                                       Assistant Corporation Counsel
          New Hampton, New York 10958                        Special Federal Litigation Division


Application to seal is GRANTED. The status letter at Docket No. 153 shall remain under seal.
Only Nicolette Pellegrino, the City of New York, the New York City Health and Hospitals
Corporation, Correctional Officers Chisolm, Santiago, and Murray, and Captains Robinson and
Charles shall have access to the letter at Docket No. 153 and subsequently filed status letters.
Having shown good cause, Defendants' motion for an extension of the stay is GRANTED. The
stay is extended to December 21, 2022. If Defendants have relevant updates regarding this
action prior to the expiry of the stay, they shall file a status letter informing the Court of such
updates. The Clerk of Court is respectfully directed to mail a copy of this Order to pro se
Plaintiff and to close the motions at Docket Nos. 152 and 153.

Dated: September 29, 2022
       New York, New York

2
 The Defendants will file their anticipated September 22, 2022 letter application under seal through the
ECF system subsequent to filing their instant request.

3   Upon information and belief, this is the current correct mailing address for Plaintiff.


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